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                 UNITED STATES BANKRUPTCY COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

In re:
                                                     Chapter 7
Power Home Solar, LLC,
                                                     Case No. 22-50228
                     Debtor.

JIMMY R. SUMMERLIN, JR., in his
capacity as Chapter 7 bankruptcy trustee
for the Estate of POWER HOME SOLAR,                  AP Case No. 23-03013
LLC d/b/a PINK ENERGY,

                                  Plaintiff,
                                               MOTION TO APPROVE SETTLEMENT
v.                                             OF ADVERSARY PROCEEDING AND
                                                CLAIMS OBJECTION PURSUANT
JPMORGAN CHASE BANK, N.A., in its                       TO RULE 9019
capacity as Administrative Agent for
JPMorgan Chase Bank, N.A., CitiBank,
N.A., and Pinnacle Bank; JPMORGAN
CHASE BANK, N.A., CITIBANK, N.A.,
and PINNACLE BANK, N.A.,

                               Defendants.

NOW COMES, JIMMY R. SUMMERLIN, JR., in his capacity as the Chapter 7 bankruptcy

trustee (the “Trustee”) for the Estate of Power Home Solar, LLC d/b/a Pink Energy (the

“Debtor”), by and through his undersigned counsel moves for entry of an order approving the

settlement of the above captioned Adversary Proceeding adverse to JPMorgan Chase Bank,

N.A., et al. (collectively “JPM”, and with the Trustee, the “Parties”) and Claims Objection

(as defined below), pursuant to the terms of that certain Settlement Agreement attached as

Exhibit A to this Motion (the “Settlement”), pursuant to Local Bankruptcy Rule 9019-1(a) and




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Bankruptcy Rule 9019 of the Federal Rules of Bankruptcy Procedure.1 In support of this

Motion, the Trustee respectfully asserts the following:

                                     JURISDICTION AND VENUE

          1.     This court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is appropriate in this

district pursuant to 28 U.S.C. § 1409.

                        BACKGROUND AND PROCEDURAL HISTORY

          2.     On October 7, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code in the Western District of North

Carolina (the “Court”). The Trustee in this proceeding has been duly appointed and is serving as

the Chapter 7 Trustee.

          3.     On February 10, 2023, JPM filed proofs of claim representing amounts loaned

under the Credit Agreement (Claim Nos. 3901-1 and 3904-1], as amended on March 24, 2023

[Claim Nos. 3901-2 and 3904-2] (as amended, the “Proofs of Claim”).

          4.     On March 9, 2023, the Trustee filed an objection to the Proofs of Claim (Base

Case Docket No. 366), as supplemented on April 21, 2023 (Base Case Docket No. 468)

(the “Claims Objection”).

          5.     On May 10, 2023, the Trustee filed this Adversary Proceeding (Docket No. 1)

against        JPM   seeking,     among       other      things,    the    avoidance       of    an     alleged

preferential/fraudulent/voidable transfer pursuant to 11 U.S.C. § 547(b), 11 U.S.C. § 548(a), 11

U.S.C. § 544(b), and applicable state laws.




1
 All capitalized terms used in this Motion shall have the same meaning ascribed to them in the Settlement. To the
extent any terms in the Motion are inconsistent with the Settlement, the Settlement shall control.


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       6.       On August 11, 2023, JPM filed its Answer and Defenses (Docket No. 10),

denying the material allegations of the Complaint and asserting certain affirmative defenses

against the relief requested by the Trustee.

       7.       Since August 11, 2023, the Trustee and JPM have engaged in continuous

discussions regarding the potential settlement of this Adversary Proceeding and have, as set forth

in the Settlement, come to an agreement on the terms of settlement.

       8.       Upon an evaluation of JPM’s Answer and Defenses, the nature of the various

Claims asserted in the Generac Suit (Power Home Solar, LLC v. Generac Power Systems, Inc.,

W.D.VA Case No. 6:22-cv-00043-NKM) (the “Generac Suit”), currently applicable case law,

and the anticipated costs and expenses of fully litigating this Adversary Proceeding, the Trustee

submits that the Settlement proposed is in the best interest of the estate and its creditors.

                                     SETTLEMENT TERMS

       9.       The Settlement sets out the terms of the Parties’ settlement in full.

       10.      Generally, the Settlement provides the following:

                      Repayment of Cash Collateral advances made by JPM to the Estate

                       pursuant to the Cash Collateral Order (Base Case Docket No. 40);

                      Distribution of JPM’s pro-rata portion of funds currently held by the

                       Estate pursuant to the terms of the Carve Out Order (Base Case Docket

                       No. 232);

                      Amendment of the Term Sheet, as incorporated into the Carve Out Order

                       to revise the split of any recoveries from the Generac Lawsuit from 30%

                       to the Estate and 70% to JPM to 40% to the Estate and 60% to JPM;

                      Removing      any    “D&O         Lawsuit”   from   the   Term     Sheet   and

                       acknowledgment by JPM that, except as to certain proceeds that may be


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                       derived from the “D&O Policy”, JPM has no security interest in any D&O

                       Lawsuit(s);

                      JPM agreeing to advance up to $50,000.00 for a forensic accounting of the

                       Debtor’s pre-petition activities with its principals by the Trustee’s

                       accountant, Middleswarth, Bowers & Co., L.L.P.;

                      JPM agreeing to defer recovery on its massive “Deficiency Claim” until

                       other general unsecured creditors have recovered at least 30% of their

                       allowed claims;

                      Stipulation as to the “Commercial Tort Claims” in which JPM has a

                       security interest; and

                      The Trustee granting a release to JPM including with respect to the

                       Adversary Proceeding and Claims Objection.

                                     RELIEF REQUESTED

       11.      Bankruptcy Rule 9019(a) states: “[o]n motion by the trustee and after notice and a

hearing, the court may approve a compromise or settlement.”

       12.      Generally, “compromises are favored in bankruptcy.” Myers v. Martin, 91 F.3d

389, 393 (3rd Cir. 1996) (quoting 9 Collier on Bankruptcy ¶ 9019.03[1] (15th ed. 1993)). In

approving a settlement, the court “need not conduct an exhaustive investigation,” or mini-trial,

“into the validity of the merits of the claims sought to be compromised.” United States v. Alaska

Nat’l Bank (In re Walsh Constr., Inc.), 669 F.2d 1325, 1328 (9th Cir. 1982). It is sufficient that

the court finds that the settlement was negotiated in good faith as well as being reasonable, fair,

and equitable. Martin v. Kane (In re A & C Properties), 784 F.2d 1377, 1381 (9th Cir. 1986).

       13.      Courts have identified the following factors for consideration in determining

whether a proposed settlement agreement is reasonable, fair, and equitable: (1) the probability of


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success in litigation; (2) the likely difficulties in collection; (3) the complexity of the litigation

involved, and the expense, inconvenience, and delay necessarily attending it; and (4) the

paramount interest of creditors. See Myers, 91 F.3d at 393 (citing Protective Comm. for Indep.

Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25 (1968)).

       14.      In the sound exercise of his business judgment, the Trustee has determined that

the best interests of the bankruptcy estate and creditors are served by settling on the terms set

forth above. In reaching this conclusion, the trustee considered: (a) potential defenses, which the

JPM raised during the course of negotiation; (b) the costs and delay attendant to litigating with

JPM; (c) the risks of litigation with JPM; and (d) the significant difficultly, even if the Trustee

were to succeed in litigating with the JPM, of parsing any recoveries from Generac among the

various contract and commercial tort claims.

       15.      The Trustee submits that the Settlement proposed herein is reasonable, fair, and

equitable, was negotiated at arms’ length and in good faith, and yields funds that can be

distributed to the creditors in this case among other benefits. Such other benefits include

providing the Trustee with additional resources to investigate other potential avenues of recovery

for the creditors, clarifying the record with respect to other matters that may result in future

litigation, and mitigating costs associated with pursuing lengthy and protracted litigation that has

no guarantee of success.

                                          CONCLUSION
       16.      The Settlement provides a resolution of disputes between the Parties in interest to

this bankruptcy case relating to the Transfers and the Demand. The terms are fair and reasonable

and meet the standards required by Bankruptcy Rule 9019.




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           17.      Accordingly, the Trustee requests that the Court approve the Settlement and enter

an order approving the Motion.2


Dated: March 26, 2024.

                                                       YOUNG, MORPHIS, BACH & TAYLOR, LLP

                                                         /s/ Jimmy R. Summerlin, Jr.
                                                       Jimmy R. Summerlin, Jr.
                                                       N.C. State Bar No. 31819
                                                       P.O. Drawer 2428
                                                       Hickory, NC 28603
                                                       Telephone: (828) 322-4663
                                                       Facsimile: (828) 324-2431
                                                       jimmys@hickorylaw.com

                                                       Attorneys for the Estate and Jimmy R. Summerlin,
                                                       Jr., in his capacity as Bankruptcy Trustee for Power
                                                       Home Solar, LLC




2
    Attached to the Motion as Exhibit B is a proposed order approving this Motion.


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                                  EXHIBIT A

                             Settlement Agreement




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                                SETTLEMENT AGREEMENT

        THIS SETTLEMENT AGREEMENT (this “Settlement Agreement”) is made as of
March 15, 2024 by and between Jimmy R. Summerlin (the “Trustee”), solely in his capacity as
chapter 7 trustee of Power Home Solar, LLC d/b/a Pink Energy (the “Debtor”) on the one side,
and JPMorgan Chase Bank, N.A. (“JPM” and, together with the Trustee, the “Parties”), on the
other, as administrative agent on behalf of itself, CitiBank, N.A., and Pinnacle Bank
(collectively, the “Lenders”) under that certain Credit Agreement dated as of November 23, 2021
(the “Credit Agreement”), among the Debtor, JPM, and the Lenders.

                                           RECITALS

        WHEREAS, on October 7, 2022 (the “Petition Date”), the Debtor filed a voluntary
petition for relief under chapter 7 of the Bankruptcy Code, commencing the bankruptcy case in
the United States Bankruptcy Court for the Western District of North Carolina (the “Court”),
captioned as In re Power Home Solar, LLC, Case No. 22-50228 (Bankr. W.D.N.C.) (the
“Chapter 7 Case”);

       WHEREAS, prior to the Petition Date, the Lenders extended certain loans to the Debtor
under the Creditor Agreement, which loans were secured by liens on substantially all of the
Debtor’s assets (the “Collateral”);

        WHEREAS, in connection with the commencement of the Chapter 7 Case, the Court
appointed the Trustee as the chapter 7 trustee for the Debtor’s estate. Accordingly, the Trustee is
vested with, inter alia, the authority to pursue certain causes of action on behalf of the Debtor’s
estate, including the avoidance and recovery of transfers under chapter 5 of the Bankruptcy
Code;

       WHEREAS, on October 19, 2023, the Court entered the Parties’ Stipulation and Agreed
Order Authorizing Limited Use of Cash Collateral [ECF No. 40] (the “Cash Collateral Order”);

        WHEREAS, on December 1, 2021, the Trustee, with the consent of the Lenders, filed
the Motion (A) For Approval Of Carve-Out Agreement With JPMorgan Chase, N.A., et al., For
Liquidation Of The Debtor’s Assets; (B) For Approval Of Auction Marketing Agreement; And
(C) To Sell Assets Free And Clear Of Any And All Liens, Encumbrances, Claims And Interests
[ECF No. 165] (“Carve Out Motion”) seeking approval to (i) make certain carve-outs of the
Collateral for the benefit of the Debtor’s estate, as memorialized in a certain “Term Sheet”
attached to the Carve Out Motion (the “Term Sheet”), and (ii) to enter into an Auction Marketing
Agreement with Iron Horse Auction Company, Inc. to liquidate certain of the Collateral, among
other things;

       WHEREAS, on December 19, 2021, the Court entered the Order on Trustee’s Motion
(A) For Approval Of Carve-Out Agreement With JPMorgan Chase, N.A., et al., For Liquidation
Of The Debtor’s Assets; (B) For Approval Of Auction Marketing Agreement; And (C) To Sell
Assets Free And Clear Of Any And All Liens, Encumbrances, Claims And Interests [ECF
No. 232], granting the relief requested in the Carve Out Motion;




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         WHEREAS, on January 9, 2023, the Trustee filed the Notice of Sale [ECF No. 262],
providing notice of the scheduling of auction sales set by Iron Horse Auction Company, Inc. and
affiliated companies;

       WHEREAS, on February 10, 2023, JPM filed proofs of claim representing the amounts
loaned under the Credit Agreement [Claim Nos. 3901-1 and 3904-1], as amended on March 24,
2023 [Claim Nos. 3901-2 and 3904-2] (as amended, the “Proofs of Claim”);

      WHEREAS, on March 9, 2023, the Trustee filed an Objection to Claims of JPMorgan
Chase Bank, N.A., as Administrative Agent (Claim No. 3901) and JPMorgan Chase Bank, N.A.
(Claim No. 3904) [ECF No. 366], as supplemented on April 21, 2023 [ECF No. 468] (the
“Claims Objection”), asserting various objections to the Proofs of Claim;

       WHEREAS, on March 27, 2023, the Trustee filed the Motion to Approve Disbursement
of Operating Asset Auction Sales Proceeds to JPMorgan Chase, N.A. [ECF No. 421], seeking to
disburse amounts related to the liquidation of certain of the Collateral in accordance with the
Term Sheet;

        WHEREAS, on March 30, 2023, the Trustee filed the Second Motion to Approve
Disbursement of Operating Asset Auction Sales Proceeds to JPMorgan Chase, N.A. [ECF No.
441], seeking to disburse additional amounts related to the liquidation of certain of the Collateral
in accordance with the Term Sheet;

       WHEREAS, on April 18, 2023, the Court entered the Order Granting Motion to
Approve Disbursement of Operating Asset Auction Sales Proceeds to JPMorgan Chase, N.A.
[ECF No. 460] and the Order Granting Second Motion to Approve Disbursement of Operating
Asset Auction Sales Proceeds to JPMorgan Chase, N.A. [ECF No. 461];

       WHEREAS, the Trustee asserts that he holds certain claims against the Lenders under
chapter 5 of the Bankruptcy Code for avoidable transfers and recoverable transfers made by the
Debtor during the 90-day period preceding the filing of this case related to certain transactions
under the Credit Agreement;

        WHEREAS, on May 10, 2023, the Trustee filed a complaint (the “Complaint”) against
JPM and Lenders, asserting various causes of action, including actions under chapter 5 of the
Bankruptcy Code pursuant to 11 U.S.C. §§ 544, 547 and 548, and various state law analogues to
section 548 (N.C. Gen. Stat. ¶ 39-23.1 et seq.; N.Y. Debt. & Cred. Law § 270, et seq.; and Del.
Code Ann. Tit. 6, ¶ 1301 et seq.) (collectively, the “Avoidance Claims”), initiating an adversary
proceeding styled as Summerlin v. JPMorgan Chase Bank, N.A., et al., Case No. 22-50228, Adv.
No. 23-03013 (Bankr. W.D.N.C.) (the “Adversary Proceeding”);

         WHEREAS, the Trustee alleged in the Complaint, in part, that the Lenders received
preferential and fraudulent transfers related to a prepetition amendment dated August 5, 2022
(the “Amendment”) to that certain Pledge and Security Agreement dated November 23, 2021,
executed by the Debtor, its affiliates, and the Lenders (the “Security Agreement”), which
Amendment identified the civil suit Power Home Solar, LLC v. Generac Power Systems, Inc.,
Case No. 6:22-cv-00043-NKM (W.D. Va.) (the “Generac Suit”) as a commercial tort claim and
part of the Collateral;


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        WHEREAS, JPM answered the Complaint on August 11, 2023 (the “Answer”), denying
some of the Trustee’s allegations in the Complaint and asserting certain affirmative defenses
challenging the validity of all of the Trustee’s claims in the Complaint, and otherwise denying
that the Trustee is entitled to any of the relief demanded in the Complaint;

       WHEREAS, since the filing of the Complaint and Answer, the Trustee, in conjunction
with his employed professionals, has reviewed and determined that the Debtor is only entitled to
a de minimus amount of Employee Retention Tax Credit such that the potential amount thereof
does not justify continued expense of litigating any entitlement thereto;

        WHEREAS, upon the initiation of the Adversary Proceeding, the Trustee, the Trustee’s
legal counsel, and JPM engaged in arms’ length and good faith negotiations under Federal Rule
of Evidence 408 to attempt to resolve the Adversary Proceeding and the Claims Objection fully
and finally in all respects;

        WHEREAS, on October 24, 2023, the Trustee, the Trustee’s legal counsel, and JPM
agreed to a settlement by altering certain terms and allocations included in the Term Sheet, as set
forth in this Settlement Agreement (the “Settlement”);

       WHEREAS, the Parties have exchanged information, negotiated and now desire to
resolve all matters respecting the Adversary Proceeding and the Claims Objection, upon the
terms and conditions set forth in this Settlement Agreement.

       NOW THEREFORE, for good and valuable consideration, it is stipulated, consented to
and agreed to by and between the Parties as follows:


        1.     The Parties acknowledge that the cash assets currently held by the Trustee for the
Estate are comprised of three (3) categories – (a) the “Mixed Funds”, which are funds on deposit
not from the liquidation of the Debtor’s physical assets, some of which are Property of the Estate
and some of which are Collateral of JPM, with a balance, as of March 4, 2024 of $156,938.48;
(b) “Operating Assets Funds”, which are funds on deposit derived from the liquidation of the
Debtor’s Operating Assets pursuant to the Term Sheet, with a balance, as of March 4, 2024, of
$619,348.47; and (c) “All Estate Funds”, which are funds derived from the liquidation of the
Debtor’s vehicles and trailers pursuant to the Term Sheet, and the Estate’s portion of previously
approved disbursements of the Operating Assets Funds.

       2.      In Settlement of the various disputes set forth above, the Parties agree to the
following terms, each of which are expressly negotiated as important aspects of the Settlement
and are not severable:

               a.     Within 5 business days after the entry of the order approving this
                      Settlement Agreement, the Trustee shall file a motion to disburse to JPM:

                     i.       $93,915.90 from the Mixed Funds account, representing amounts
                              advanced by JPM pursuant to the Cash Collateral Order, and

                    ii.       70% of the Operating Assets Funds, less a pro-rata share of
                              banking fees assessed and paid by the Estate through the date of
                              distribution, based on the percentage of Operating Assets Funds to

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                             be distributed to JPM in relation to the total of funds held by the
                             Estate for the period in which the fee was paid.

              b.      The Parties agree that the balance of the funds remaining in the Mixed
                      Funds account after the above disbursement ($63,022.58) shall be solely
                      property of the Estate and no portion thereof shall be held subject to any
                      collateral interest of JPM.

              c.      The Parties agree to the following revisions of the Term Sheet:

                     i.      The following provision (paragraph 3 of the “Named Lawsuits”
                             section of the Term Sheet) is deleted in its entirety:

                                 For all remaining amounts, a recovery of 30% to the Estate and
                                 70% to JPM.

                             And replaced in with the following:

                                 For all remaining amounts, (a) a recovery of 30% to the Estate
                                 and 70% to JPM with respect to the Named Lawsuits other
                                 than the Generac Lawsuit, and (b) a recovery of 40% to the
                                 Estate and 60% to JPM with respect to the Generac Lawsuit.

                    ii.      The term “D&O Lawsuit” shall be deleted in its entirety from the
                             Term Sheet.

                   iii.      The term “D&O Policy” shall be added as a new defined term to
                             the Term Sheet, and defined as the following:

                                 “D&O Policy” means the insurance policy between Federal
                                 Insurance Company and Renewable Clean Energies, LLC,
                                 dated March 11, 2022, including any amendments, riders, and
                                 tail policies related to the same.

                   iv.       A new section entitled D&O Policy shall be added, providing the
                             following:

                                 The Trustee shall engage, subject to Court approval, Michael
                                 T. Bowers or Middleswarth, Bowers & Co., L.L.P. as forensic
                                 accountant (the “Accountant”) to investigate potential claims
                                 against the directors, officers, and executives of the Debtor
                                 (collectively, the “Insiders”).

                                 JPM shall advance fees for such Accountant in an amount up to
                                 $50,000.00 (the “Accountant Advance”) in order to enable the
                                 investigation of the Insiders. The Trustee shall exercise his
                                 business judgment in directing the Accountant in consultation
                                 with JPM, in order to investigate actions or omissions of the
                                 Insiders prior to the Petition Date that may have impacted the
                                 Estate, including with respect to the Insiders’ and/or Debtor’s

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                           disclosure obligations to the Lenders and candor with respect
                           thereto. The intention of such investigation is to identify
                           causes of action for the Estate against the Insiders for breaches
                           of fiduciary duties, contract, or otherwise.

                           The Trustee and Accountant shall keep JPM apprised of the
                           status of the investigation, including through status
                           conferences, occurring no less frequently than on a monthly
                           basis, in which the Trustee, Accountant, and JPM all
                           participate. The Trustee shall confer with JPM on the decision
                           regarding whether to pursue any claims against the Insiders
                           during the course of and upon the conclusion of the
                           investigation. If at any point during the investigation, the
                           Trustee determines he will not pursue any claim against the
                           Insiders and JPM has yet to advance the entire amount of the
                           Accountant Advance, JPM shall not be obligated to advance
                           any additional amount. To the extent the Trustee and JPM
                           disagree as to any material matter related to the investigation or
                           whether to pursue claims against the Insiders, the Trustee and
                           JPM, in consultation with the Bankruptcy Administrator, shall
                           engage in good faith efforts to resolve the matter for no less
                           than 7 calendar days, after which if no agreement has been
                           reached, either party may file a motion to have the matter heard
                           and resolved by the Court.

                           Recoveries resulting from such investigation shall be shared in
                           accordance with the following waterfall:

                              1. Accountant’s fees and expenses that exceed the
                                 Accountant Advance;

                              2. The Accountant Advance to JPM; and

                              3. For all remaining amounts recovered on account of the
                                 D&O Policy, a recovery of 50% to the Estate and 50%
                                 to JPM.

                              4. For the avoidance of doubt, JPM shall be entitled to
                                 recover the Accountant Advance regardless of the
                                 source of recovery, even if not from the D&O Policy;
                                 however, JPM shall only receive a 50% recovery from
                                 proceeds received under the D&O Policy. Further,
                                 except as to recoveries from the “D&O Policy”, the
                                 Parties stipulate the JPM has no perfected security
                                 interest in any lawsuit that may be brought by the
                                 Trustee against the Insiders.




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                   v.       Unless otherwise specified in this section, no other terms or
                            conditions of the Carve Out Motion, the Carve Out Order, or the
                            Term Sheet shall be amended, altered, or otherwise modified.

              d.     JPM agrees to defer recovery on its Deficiency Claim until the Unsecured
                     Claimants have received the Unsecured Threshold Amount from the
                     Unsecured Claims. After which, JPM shall recover on its Deficiency
                     Claim only from the Deficiency Pool, pari passu with the Unsecured
                     Claimants on account of the Remaining Unsecured Claims Amount.

                   i.       As used in this subsection, the following terms shall have the
                            following meaning:

                            1. “Deficiency Claim” means the amount of the Proofs of Claim
                               remaining after JPM has received all distributions to which it is
                               entitled as allocated to it under the Term Sheet as revised by
                               this Settlement Agreement.

                            2. “Deficiency Pool” means an amount equal to the Unsecured
                               Pool minus the Unsecured Threshold Amount.

                            3. “Remaining Unsecured Claims Amount” means the Unsecured
                               Claims minus the Unsecured Threshold Amount.

                            4. “Unsecured Claims” means all Allowed general unsecured
                               claims timely filed in this Chapter 7 Case.

                            5. “Unsecured Claimants” means any holder of the Unsecured
                               Claims.

                            6. “Unsecured Pool” means the amount of distributable cash held
                               by the Trustee and allocable to the Unsecured Claims.

                            7. “Unsecured Threshold Amount” means an amount that is 30%
                               of the Unsecured Claims.

              e.    The Parties stipulate and agree that neither JPM nor the Lenders shall have
                    any security interest in any tax refunds for any taxing period ending after
                    the Petition Date.

              f.    The Parties stipulate and agree that the only Commercial Tort Claims that
                    JPM and/or the Lenders have a perfected security interest in are as
                    follows:

                   i.       PHS v. Orbit Marketing LLC (d/b/a Climax Solar) and Joshua
                            Thompson - Case No. 21-cv-703, United States District Court,
                            Western District of Michigan;




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                     ii.        PHS v. Hummingbird Solar LLC and Bradley Shaver - Case No.
                                2021-cvs-332, General Court of Justice Superior Court Division,
                                County of Iredell, NC;

                    iii.        PHS v. Christopher Lavalla - Case No. 2021-CP-40-02641, Court
                                of Common Pleas for Fifth Judicial District, County of Richland,
                                SC;

                    iv.         PHS v. Lucas McDermott - Case No. 2:21-cv-02229-CSB, United
                                States District Court for the Central District of Illinois;

                     v.         PHS v. Eric Heath - Case No. 3:21-cv-02229-CMC, United States
                                District Court for the District of South Carolina;

                    vi.         PHS v. Lyle Ciardi - Case No. 21-cvs-11484, Superior Court
                                Division for the County of Mecklenburg, North Carolina; and

                    vii.        PHS v. Generac Power Systems, Inc. - Case No. 6:22-cv-000043-
                                NKM, United States District Court for the Western District of
                                Virginia.

               g.         The Parties stipulate and agree that neither JPM nor the Lenders has a
                          security interest in any Deposit Accounts, as defined in the UCC, over
                          which they do not maintain control, as defined in the UCC

        3.     Upon execution of this Settlement Agreement and approval of the Settlement
Agreement by the Bankruptcy Court, the Trustee, on behalf of the Debtor’s estate, releases,
waives, and discharges the Lenders from any and all liabilities, obligations, actions, suits,
judgments, claims, causes of action and demands, known or unknown, whatsoever at law or in
equity arising from, in connection with or related to that certain Master Commercial Card
Agreement dated November 4, 2021, between JPM and the Debtor (the “Credit Card
Agreement”), the Credit Agreement, the Security Agreement, and the Amendment (and any
other documents related to any of the foregoing), including, but not limited to, any such claims
or actions asserted in accordance with the Adversary Proceeding and the Claims Objection;
provided that the foregoing release shall not limit or be deemed to limit the rights of the Trustee,
on behalf of the Debtor’s estate, to enforce this Settlement Agreement in accordance with its
terms.

       4.     This Settlement Agreement may be executed in counterparts each of which shall
be deemed an original, but all of which together shall constitute one and the same.

        5.      The undersigned represent and warrant that they have full authority to execute this
Settlement Agreement on behalf of their respective Party or client and have obtained all
necessary approvals. This Settlement Agreement is the resolution of disputed claims and nothing
herein shall be deemed an admission against either party.

        6.     This Settlement Agreement constitutes the entire agreement and supersedes all
prior agreements and understandings, both written and oral, among the Parties with respect to its
subject matter, provided that all obligations under the Term Sheet shall remain in full force and


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effect other than as expressly amended or supplemented by the terms of this Settlement
Agreement.

        7.      This Settlement Agreement shall be binding upon and inure to the benefit of the
Parties’ respective assigns and successors, including trustees and receivers.

       8.      This Settlement Agreement may be signed and transmitted electronically or by
facsimile, which shall be deemed to have the full force and effect of original ink signatures.

       9.      This Settlement Agreement shall become effective upon the entry of an order
approving this Settlement Agreement by the Court.

       10.      Within seven (7) days of Court approval of this Settlement Agreement, the
Trustee shall file a notice of dismissal of the Adversary Proceeding with prejudice and withdraw
the Claim Objection, with each party to bear its own fees and costs.




Jimmy R. Summerlin, solely in his                  JPMorgan Chase Bank, N.A., as
capacity as chapter 7 trustee of the estate        Administrative Agent under the Credit
of Power Home Solar, LLC d/b/a Pink                Agreement on behalf of the Lenders
Energy.


By:                                                By:


Printed Name:   Jimmy R. Summerlin, Jr.
                                                   Printed Name: William A. Canney

Title: Chapter 7 Trustee                           Title:   Authoriized Officer


Jimmy R. Summerlin, Esq.                           William A. Canney, Authorized Officer
Young, Morphis, Bach & Taylor, LLP                 JPMorgan Chase Bank, N.A.
First Lawyers Building at North Park               611 Woodard Ave., 2nd Floor
858 2nd Street NE, Suite 200                       Detroit, Michigan 48226
P.O. Drawer 2428
Hickory, North Carolina 28603                      Authorized Signatory

Chapter 7 Trustee




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                                                                                                        REFERENCE NUMBER
                                                                                                        A31C3377-6144-42BE-BDEF-D7EAAA8C0115
SIGNATURE CERTIFICATE


TRANSACTION DETAILS                                                                 DOCUMENT DETAILS
Reference Number                                                                    Document Name
A31C3377-6144-42BE-BDEF-D7EAAA8C0115                                                PHS-JPM AP Settlement Agreement
Transaction Type                                                                    Filename
Signature Request                                                                   PHS-JPM_AP_Settlement_Agreement.pdf
Sent At                                                                             Pages
03/18/2024 09:26 EDT                                                                8 pages
Executed At                                                                         Content Type
03/18/2024 11:45 EDT                                                                application/pdf
Identity Method                                                                     File Size
email                                                                               134 KB
Distribution Method                                                                 Original Checksum
email                                                                                         93f5559578f94d6d0b0f46f001699f75b92a0d5eefb7a51c9cb6b607537e3f1f
Signed Checksum
         9300c02e9098fb002c4813f2ac1ae0bac703ce00d794eb3448c19989d627140d

Signer Sequencing
Enabled
Document Passcode
Disabled


SIGNERS
SIGNER                                           E-SIGNATURE                                                         EVENTS
Name                                             Status                                                              Viewed At
Jimmy R. Summerlin, Jr.                          signed                                                              03/18/2024 11:45 EDT
Email                                            Multi-factor Digital Fingerprint Checksum                           Identity Authenticated At
jimmys@hickorylaw.com                            07bb646ad998ded191f2e587ce829084203f243efb36fbe58b0ebdbdb04ea824    03/18/2024 11:45 EDT
Signer Sequence                                  IP Address                                                          Signed At
1                                                208.77.170.179                                                      03/18/2024 11:45 EDT
Components                                       Device
1                                                Firefox via Windows
                                                 Drawn Signature


                                                   Signature Reference ID
                                                   0CFF9AF5
                                                   Signature Biometric Count
                                                   4

Name                                             Status                                                              Viewed At
William A. Canney                                signed                                                              03/18/2024 10:29 EDT
Email                                            Multi-factor Digital Fingerprint Checksum                           Identity Authenticated At
bill.canney@chase.com                             f896c1e9cbda256bc38a60a019e41f005c6cf3018e6f368ab1dc2c9ad27de8b9   03/18/2024 10:31 EDT
Signer Sequence                                  IP Address                                                          Signed At
0                                                159.53.110.229                                                      03/18/2024 10:31 EDT
Components                                       Device
2                                                Chrome via Windows
                                                 Drawn Signature


                                                   Signature Reference ID
                                                   53FC2447
                                                   Signature Biometric Count
                                                   2


AUDITS
TIMESTAMP                               AUDIT
03/18/2024 09:26 EDT                    Jimmy Summerlin (jimmys@hickorylaw.com) created document 'PHS-JPM_AP_Settlement_Agreement.pdf' on
                                        Firefox via Windows from 208.77.170.179.
03/18/2024 09:26 EDT                    William A. Canney (bill.canney@chase.com) was emailed a link to sign.
03/18/2024 10:29 EDT                    William A. Canney (bill.canney@chase.com) viewed the document on Chrome via Windows from 159.53.110.229.
          Case 22-50228   Doc 653        Filed 03/26/24 Entered 03/26/24 09:04:38                            Desc Main
TIMESTAMP                 AUDIT          Document      Page 17 of 20
03/18/2024 10:31 EDT      William A. Canney (bill.canney@chase.com) authenticated via email on Chrome via Windows from 159.53.110.229.
03/18/2024 10:31 EDT      William A. Canney (bill.canney@chase.com) signed the document on Chrome via Windows from 159.53.110.229.
03/18/2024 10:31 EDT      Jimmy R. Summerlin, Jr. (jimmys@hickorylaw.com) was emailed a link to sign.
03/18/2024 11:44 EDT      Jimmy R. Summerlin, Jr. (jimmys@hickorylaw.com) viewed the document on Firefox via Windows from
                          45.33.149.69.
03/18/2024 11:45 EDT      Jimmy R. Summerlin, Jr. (jimmys@hickorylaw.com) viewed the document on Firefox via Windows from
                          208.77.170.179.
03/18/2024 11:45 EDT      Jimmy R. Summerlin, Jr. (jimmys@hickorylaw.com) authenticated via email on Firefox via Windows from
                          208.77.170.179.
03/18/2024 11:45 EDT      Jimmy R. Summerlin, Jr. (jimmys@hickorylaw.com) signed the document on Firefox via Windows from
                          208.77.170.179.
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                                  EXHIBIT B

                                Proposed Order




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                   UNITED STATES BANKRUPTCY COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

In re:
                                                       Chapter 7
Power Home Solar, LLC,
                                                       Case No. 22-50228
                      Debtor.

JIMMY R. SUMMERLIN, JR., in his
capacity as Chapter 7 bankruptcy trustee
for the Estate of POWER HOME SOLAR,                    AP Case No. 23-03013
LLC d/b/a PINK ENERGY,

                                    Plaintiff,
                                                     ORDER GRANTING MOTION
v.                                                   TO APPROVE SETTLEMENT
                                                    OF ADVERSARY PROCEEDING
JPMORGAN CHASE BANK, N.A., in its                     AND CLAIMS OBJECTION
capacity as Administrative Agent for                  PURSUANT TO RULE 9019
JPMorgan Chase Bank, N.A., CitiBank,
N.A., and Pinnacle Bank; JPMORGAN
CHASE BANK, N.A., CITIBANK, N.A.,
and PINNACLE BANK, N.A.,

                                 Defendants.

                         ORDER APPROVING SETTLEMENT
                       PURSUANT TO BANKRUPTCY RULE 9019

         This matter is before the Court on the Motion to Approve Settlement Pursuant to

Bankruptcy Rule 9019 (the “Motion”). In the Motion, JIMMY R. SUMMERLIN, JR., in his

capacity as the Chapter 7 bankruptcy trustee (the “Trustee”) for the Estate of Power Home Solar,


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LLC d/b/a Pink Energy (the “Debtor”) seeks approval of the settlement of this Adversary

Proceeding adverse to JPMorgan Chase Bank, N.A., et al. (collectively “JPM”, and with the

Trustee, the “Parties”) and related Claims Objection.                The Settlement Agreement

(the “Settlement”) between Trustee and Recipient was attached as Exhibit A to the Motion.

Having considered the Motion and Settlement and for good cause shown, the Court finds,

concludes, and orders:

       1.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is appropriate in this

district pursuant to 28 U.S.C. § 1409. The authority for the relief sought herein is Bankruptcy

Rule 9019.

       2.       Notice and service of the Motion were appropriate.

       3.       The terms of the Settlement are fair and reasonable. The Settlement is within the

bounds of the Trustee’s sound business judgment and the standards applicable to Bankruptcy

Rule 9019.

       4.       Therefore, the Motion is granted and the Settlement is approved.

       5.       The Court retains jurisdiction over any disputes regarding the validity,

interpretation, or performance of the Settlement, including but not limited to the ability to

enforce the payment.

       IT IS SO ORDERED.

This order has been signed electronically.                    United States Bankruptcy Court
The Judge’s signature and the Court’s
seal appear at the top of this Order.




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